                                                                        Case 2:21-cv-01120-WBS-KJN Document 27 Filed 06/21/23 Page 1 of 3


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                                                                        Telephone:    (415) 213-4098
                                                                    6
                                                                        Attorneys for Defendants
                                                                    7   CITY OF FAIRFIELD AND ZACHARY SANDOVAL
                                                                    8                                   UNITED STATES DISTRICT COURT
                                                                    9                                 EASTERN DISTRICT OF CALIFORNIA
CASTILLO, MORIARTY, TRAN & ROBINSON, LLP




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                                                                   11   CALVIN RUSH and JAYME RUSH,                        Case No. 2:21-cv-01120-WBS-KJN
                                     Daly City, California 94015
                                       75 Southgate Avenue




                                                                   12                            Plaintiff,                STIPULATION AND ORDER TO SET
                                                                                                                           SETTLEMENT CONFERENCE
                                                                   13           v.
                                                                                                                           Hon. William B. Shubb
                                                                   14   CITY OF FAIRFIELD, OFFICERS
                                                                        ZACHARY SANDOVAL AND DUSTIN
                                                                   15   JOSEPH,
                                                                   16                            Defendants.
                                                                   17

                                                                   18           IT IS HEREBY STIPULATED, and respectfully requested, by and between Plaintiffs and
                                                                   19   Defendants by and through their designated counsel, that:
                                                                   20           WHEREAS, on June 21, 2021, Plaintiff filed his Complaint. (Doc. 1);
                                                                   21           WHEREAS, on March 16, 2022, the Court issued the case schedule (Doc. 12);
                                                                   22           WHEREAS, the Final Pretrial Conference is set for August 28, 2023, at 1:30 p.m. and the jury
                                                                   23   trial is set for October 31, 2023, at 9:00 a.m.;
                                                                   24           WHEREAS, the court ordered a Settlement Conference with a magistrate judge will be set at
                                                                   25   the time of the Pretrial Conference;
                                                                   26           WHEREAS, the parties have agreed to set a settlement conference with Hon. Carolyn K.
                                                                   27   Delaney;
                                                                   28
                                                                                                                                                 STIP TO SET SETTLEMENT
                                                                                                                           1                                 CONFERENCE
                                                                                                                                                    2:21-CV-01120-WBS-KJN
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                                                                    1           WHEREAS, Judge Delaney offered the following availability 9/13 – 9/15, 9/19 and 9/20.
                                                                    2           WHEREAS, the parties have agreed to set the settlement conference for September 14,
                                                                    3   2023.
                                                                    4           WHEREAS, the parties JOINTLY request and STIPULATE TO the Court setting a
                                                                    5   settlement conference with Magistrate Judge Carolyn K. Delaney for September 14, 2023.
                                                                    6
                                                                        IT IS SO AGREED.
                                                                    7

                                                                    8                                               Respectfully submitted,

                                                                    9   Dated: June 19, 2023                        CASTILLO, MORIARTY,
                                                                                                                    TRAN & ROBINSON, LLP
CASTILLO, MORIARTY, TRAN & ROBINSON, LLP




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                                                                   11                                               By:     /s/ Patrick Moriarty
                                     Daly City, California 94015




                                                                                                                          PATRICK MORIARTY
                                       75 Southgate Avenue




                                                                   12                                                     JOHN ROBINSON
                                                                                                                          JOANNE TRAN
                                                                   13                                                     Attorneys for Defendants
                                                                                                                          CITY OF FAIRFIELD and ZACHARY
                                                                   14                                                     SANDOVAL

                                                                   15   Dated: June 19, 2023                        BERTRAND FOX ELLIOT OSMAN & WENZEL

                                                                   16
                                                                                                                    By:    /s/Richard W. Osman
                                                                   17                                                     RICHARD W. OSMAN
                                                                                                                          Attorneys for Defendants
                                                                   18                                                     DUSTIN JOSEPH
                                                                   19                                                LAW OFFICE OF STANLEY GOFF
                                                                   20   Dated: June 19, 2023

                                                                   21                                                 By:    /s/Stanley Goff___
                                                                                                                            STANLEY GOFF
                                                                   22
                                                                                                                            Attorney for Plaintiffs
                                                                   23                                                       CALVIN RUSH and JAYME RUSH
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                                                                                                                                              STIP TO SET SETTLEMENT
                                                                                                                      2                                   CONFERENCE
                                                                                                                                                 2:21-CV-01120-WBS-KJN
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                                                                    1                                     ORDER
                                                                    2         IT IS SO ORDERED.
                                                                    3   Dated: June 20, 2023
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CASTILLO, MORIARTY, TRAN & ROBINSON, LLP




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                                     Daly City, California 94015
                                       75 Southgate Avenue




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                                                                                                                               STIP TO SET SETTLEMENT
                                                                                                             3                             CONFERENCE
                                                                                                                                  2:21-CV-01120-WBS-KJN
